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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             11/6/20
MORGAN ART FOUNDATION LIMITED,
               Plaintiff,                              18-CV-4438 (AT) (BCM)
       -against-
MICHAEL MCKENZIE, et al.,
               Defendants.

MORGAN ART FOUNDATION LIMITED, et al.,
               Plaintiffs,                             18-CV-8231 (AT) (BCM)

       -against-                                       ORDER
JAMES W. BRANNAN, as personal
representative of the Estate of Robert Indiana,
               Defendant.

BARBARA MOSES, United States Magistrate Judge.

       The Court has received and reviewed the Estate's letter-motion dated November 5, 2020

(Dkt. No. 367 in Case No. 18-CV-4438; Dkt. No. 157 in Case No. 18-CV-8231), filed jointly

with the Morgan Art Parties and Jamie Thomas, requesting a 60-day stay in both actions in

anticipation of a partial settlement in the McKenzie action (18-CV-4438) and a complete

settlement in the Brannan action (18-CV-8231). The Court has also received and reviewed

Michael McKenzie's letter dated November 6, 2020 (Dkt. No. 368 in Case No. 18-CV-4438),

confirming his consent to the stay.

       The joint request is GRANTED to the extent set forth below.

       1. All discovery in both actions shall be STAYED through and including January 6,
          2021.

       2. The Morgan Art Parties' motion to dismiss the Estate's counterclaims as moot (Dkt.
          No. 344 in Case No. 18-CV-4438; Dkt. No. 134 in Case No. 18-CV-8231) is
          WITHDRAWN, at the Morgan Art Parties' request, without prejudice to renewal if
          the anticipated settlement is not completed. The related sealing motions (Dkt. Nos.
          348 and 361 in Case No. 18-CV-4438; Dkt. Nos. 138 and 151 in Case No. 18-CV-
          8231) are similarly deemed WITHDRAWN, without prejudice to renewal if the
          motion to dismiss is renewed.
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      3. The Court will conduct a telephonic status conference on January 7, 2021, at 10:00
         a.m. At that time, the parties shall call (888) 557-8511 and enter the access code
         7746387. Prior to the conference, and no later than January 5, 2021, the remaining
         parties shall submit a joint letter advising the Court as to what discovery remains to
         be completed and proposing a schedule for completing it.

      The Clerk of Court is respectfully directed to close the letter-motions at Dkt. Nos. 344,

348, 361, and 367 in Case No. 18-CV-4438, and Dkt. Nos. 134, 138, 151, and 157 in Case No.

18-CV-8231.


Dated: New York, New York
       November 6, 2020                    SO ORDERED.


                                           ________________________________
                                           BARBARA MOSES
                                           United States Magistrate Judge




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